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                                        6JI-' DIV'ISION

                    IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS


      JOHN W. POLLARD                                                                             PLAINTIFF

      VS.             '60 CV caQ4>LDA2 7                                       nu.:o     Ol.n:::/ll 1.'19: jH:07
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      WELSPUN TUBULAR LLC
                                                                               PH              DEFENDANT

                                                COMPLAINT

             The Plaintiff, John W. Pollard (hereinafter "Plaintiff' unless designated otherwise), wish

      to set forth his complaint against Defendant, Welspun Tubular LLC (hereinafter "Welspun"

      unless designated othelwise). Plaintiff alleges and states as follows:

                                       JURISDICTION AND VENUE

              1.      This is an action to recover damages for personal injuries sustained. John W.

      Pollard is a resident of Pulaski County, Arkansas at the time of the incident. Therefore, this

      matter is properly brought in the Circuit Comt of Pulaski County, Arkansas, pursuant to Ark.

      Code Ann. § 16~S8~118. Fut1her, this COUlt has jurisdiction pursuant to Ark. Code Ann. §16-13­

      201.

                                               THE PARTIES

             2.       John W. Pollard is a resident of Pulaski County, Arkansas and was an employee

      of Bowling Security at the time he suffered injury.

             3.       Weispull is a foreign Limited Liability Company doing business in Arkansas,

      whose agent for service is Rajesh Chokhani, 9301 Frazier Pike, Little Rock, Arkansas 72206.

                                         THE CAUSE OF ACTION

             4.       The Plaintiff worked for Bowling Security, who was contracted to provide

      security for Welspun's Little Rock facility. On April 20. 2010 around 4:00 a.tn. the Plaintiff was

      walking to his vehicLe to make a routine security sweep of Welspun's facility, when he stepped in
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       a hole in Welspun's parking lot. The parking lot had poor lighting and the hole was due to the

       removal of truck scales belonging to Welspun. The maintenance and care of the parking lot is

       the responsibility of WeIspun. Weispun had previouslyl'emoved a truck scale, however failed

       to' properly repair the hole left behind, which was in the parking lot. When the Plaintiff fell, he

       broke several ribs) severely irijured his right side and his body as a whole.

                                  ACTS OF NEGLIGENCE OF WELSPUN

                 5.    Due to the negligence of the Defendant, We)spun, Plaintiff John W. Pollard was

       severely injured. This negligence consisted of, but was not limited to, the following:

                       (a)	   Failure to follow Welspun's own policies regarding maintenance and

                              repairs of the pal'king lot, at issue, and to othelwise properly maintain,

                               inspect;

                       (b)	   Failure to properly prepare the work site before turning the area over to the

                              security guards and/or its workers;

                       (c)	   Failing to maintain proper lighting of the parking lot at all times;

                       (d)	   F~ilul'e   to properly repair the hole left after the removal of the truck scale;

                       (e)	   Failure to exercise ordinary care for the safety of John W. Pollard. to

                              whom Welspun owed a duty.

                                          COMPENSATORY DAMAGE~

                 6.    The allegations of paragraphs I ~5 are re-alleged and incorporated herein

       by reference.

                 7.    Because Welspun was negligent, John W. Pollard has sustained the following

       losses:

                       (a)	   He has sustained pain, suffering and mental anguish from this accident,
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                               and he will continue to experience this pain in the future;

                       (b)	    He has incun'ed medical bills and will need medical care, treatment,

                               services, and c8re taking expenses in the futme;
                                                 N




                       (c)	    He has suffered permanent and extreme disfigurement; and

                       (d)	    He has lost his earning capacity, as well as the loss of the ability to earn in

                               the future and a loss of his past wages.

               For all of which Plaintiff John W. Pollard is entitled to recover a total sum within the

       jurisdiction of this Court and in excess of federal diversity jurisdiction.

                                            JURY TRIAL DEMAND

               8.	     Plaintiff demand a trial by jury upon all issues herein.

               'WHEREFORE, the Plaintiff. John W. Pollard, prays for judgment against Defendant in

       an amount within the jurisdiction of this Court and in excess of federal diversity jurisdiction; for

       a trial by jUlY; for his costs expended herein; for prejudgment interest from the date of injury

       through the date ofjudgment; and for all other just and proper relief to which he may be entitled.

                                                              Respectfully submitted,




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